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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )                     4:09CR3031
                                            )
            v.                              )
                                            )         MEMORANDUM AND ORDER
MICHAEL KONING, LOWELL                      )
BAISDEN, SUSAN BAISDEN-                     )
KONING,                                     )
                                            )
                     Defendants.            )

      After conferring with counsel during the Rule 17.1 Conference held today,

      IT IS ORDERED:

      1)    Trial:

            a.       The trial of this case is set to commence before the Honorable Richard
                     G. Kopf at 9:00 a.m. on August 1, 2011, or as soon thereafter as the
                     case may be called, for a duration of thirty (30) trial days, in Courtroom
                     1, United States Courthouse, Lincoln, Nebraska. Jury selection will be
                     held at commencement of trial.

            b.       The parties will confer and work diligently toward drafting stipulated
                     facts and resolving issues, the purpose being to streamline and shorten
                     the trial.

            c.       Counsel for the defendants shall confer to determine an orderly and
                     appropriate procedure for examination of witnesses at trial by defense
                     counsel.

      2)    Witnesses. On or before sixty (60) days prior to trial, the government shall
            provide to defense counsel a list of the witnesses it intends to call at trial, along
            with any Jencks Act documents and a designation, by witness, of whether the
            witness will be called to provide 404(b) and/or co-conspirator evidence.
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      3)   Exhibits:

           a.     On or before forty-five (45) days prior to trial, the government shall
                  provide a list of exhibits to defense counsel for which it requests a
                  stipulation as to admissibility.

           b.     On or before thirty (30) days prior to trial, each defendant shall provide
                  to the government and counsel for the co-defendants a list of exhibits
                  for which it requests a stipulation as to admissibility.

           c.     The parties are advised that exhibits will be offered and presented at
                  trial in digital format, and should contact Judge Kopf’s Courtroom
                  Deputy, Colleen Beran, (437-1908), for information on the format
                  needed for submitting digital evidence to the court and at trial, and the
                  operation and capabilities of the courtroom technology used in Judge
                  Kopf’s courtroom.

           d.     The parties shall consider whether jurors should be provided juror
                  notebooks with copies of exhibits for their use and reference during the
                  trial.

      4)   Motions in limine shall be filed thirty (30) days prior to trial.

      5)   Trial Practices. The parties shall review Judge Kopf’s General Observations
           about Criminal Jury Trials, Background Questions for Prospective Jurors,
           Standard Voir Dire Questions in Criminal Cases, and Preliminary Jury
           Instructions for Use in Criminal Cases, available on the court’s website at
           http://www.ned.uscourts.gov/jpar/juryPractices.html. On or before thirty (30)
           days prior to trial, any party who believes Judge Kopf’s standard practices as
           reflected in these documents should be modified for the trial of this case shall
           file a statement for departure from the standard practices which specifically
           identifies what changes, deletions, or additions should be made and an
           explanation for his or her position on that issue.

      6)   The undersigned will be issuing a recommendation to deny Michael Koning’s
           motion for multiple juries and additional peremptory challenges. However,
           for the purpose of the Rule 17.1 conference, the parties were advised that the
           court does not intend to permit multiple juries, and intends to allow each
           defendant four (4) peremptory challenges.


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      7)    Due to the length of the anticipated trial, two alternates will be selected for the
            jury.

      8)    A future Rule 17.1 conference is anticipated. This conference will be
            coordinated to permit counsel for the parties and their associated staff to
            confer with Colleen Beran and the court’s Information Technology personnel
            regarding courtroom seating, and the computer technology and access to such
            technology within Judge Kopf’s courtroom.

      DATED this 23rd day of December, 2010.

                                          BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge




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